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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

JOHN DOE                                          §
                                                  §
       Plaintiff                                  §
                                                  §
vs.                                               §                Civil Action No. 4:18-cv-00254
                                                  §
AUSTIN COLLEGE,                                   §
TIM MILLERICK, as agent for Austin                §
College, SHEILA PINERES, as agent for             §
Austin College, and MICHAEL DEEN, as              §
agent for Austin College,                         §
                                                  §
       Defendants.                                §

         STIPULATION OF DISMISSAL OF ALL CLAIMS WITH PREJUDICE
                 BY PLAINTIFFS PURSUANT TO RULE 41(a)(1)

       Plaintiff, JOHN DOE, files this Stipulation of Dismissal under Federal Rule of Civil

Procedure 41(a)(1)(A)(ii).

       The Plaintiff stipulates that all the claims JOHN DOE has brought against AUSTIN

COLLEGE, TIM MILLERICK, as agent for Austin College, SHEILA PINERES, as agent

for Austin College, and MICHAEL DEEN, as agent for Austin College are hereby dismissed

with prejudice against refiling the same. Each party will bear its own attorney’s fees and costs.

       This case is not a class action, a receiver has not been appointed in this case, and this case

is not governed by any federal statute that requires a court order for dismissal of this case.


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    JOHN DOE




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